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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 LAUSTEVEION JOHNSON,                                     Case No.: 2:17-cv-01121-APG-DJA

 4          Plaintiff                                    Order Regarding Motions for Status of
                                                           Pretrial Order and for Trial Date
 5 v.
                                                                     [ECF Nos. 70, 72]
 6 DAVID WILLIS, et al.,

 7          Defendants

 8         Plaintiff Lausteveion Johnson filed a motion for a status check on the pretrial order and a

 9 motion for a trial date. Johnson did not receive the pretrial order that I entered earlier because he

10 did not update his address as required by Local Rule IA 3-1. Johnson’s address since has been

11 updated, so I direct the clerk of court to send Johnson copies of the pretrial order and the orders

12 setting the settlement conference for November 2, 2020.

13         I THEREFORE ORDER that plaintiff Lausteveion Johnson’s motions for status and for

14 trial date (ECF Nos. 70, 72) are GRANTED in that I direct the clerk of court to send Johnson

15 copies of the pretrial order (ECF No. 66), the order setting the original settlement conference

16 (ECF No. 67), and the order rescheduling the settlement conference to November 2, 2020 (ECF

17 No. 69), along with a copy of the docket sheet.

18         DATED this 16th day of October, 2020.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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